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   8                       UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   MG PREMIUM LTD,                                 Case No. 2:21-CV-08533-MCS-(KKx)
  12                Plaintiffs,                        ORDER RE SETTLEMENT
                                                       CONFERENCE
  13         v.
  14   JOHN DOES 1-20 d/b/a
       GOODPORN.TO,
  15
                    Defendants.
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  19                   PLEASE READ THIS ORDER CAREFULLY
 20          This case has been referred to Magistrate Judge Kenly Kiya Kato for
  21   settlement proceedings. The In Person Settlement Conference is placed on
 22    calendar for September 6, 2023 at 9:00 a.m. in Courtroom 3 of the United
  23   States District Court, Eastern Division, George E. Brown, Jr. Federal Building
 24    3470 12th St., Riverside, CA 92501.
  25         The Magistrate Judge will not be involved in the actual trial of the case,
 26    but rather will assist the parties in an objective appraisal and evaluation of the
  27   case. The following are guidelines for the parties in preparing for the
  28   Settlement Conference.
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   1                 1.    The purpose of the Settlement Conference is to permit an
   2   informal discussion between the attorneys, parties, non-party indemnitors or
   3   insurers, and the settlement judge, of every aspect of the case bearing on its
  4    settlement value.
   5         2.     Pursuant to Local Rule 16-14.8, all settlement proceedings shall be
   6   confidential, and no statement made therein shall be admissible in any
   7   proceeding in the case, unless the parties otherwise agree. No part of a
   8   settlement proceeding shall be reported or otherwise recorded, without the
   9   consent of the parties, except for any memorialization of a settlement.
  10         3.     In addition to counsel who will try the case being present, a person
  11   with full settlement authority should likewise be present for the conference.
  12   This requirement contemplates the physical presence of your client or, if a
  13   corporate or governmental entity, of an authorized and knowledgeable
  14   representative of your client. The plaintiff's representative must have full and
  15   final authority, in the representative's sole discretion, to authorize dismissal of
  16   the case with prejudice, or to accept a settlement amount recommended by the
  17   settlement judge. The defendant's representative must have final settlement
  18   authority to commit the defendant to pay, in the representative's sole discretion,
  19   a settlement amount agreed to during the settlement conference.
 20          4.     Subject to paragraph 7 below, counsel appearing without their
  21   clients (whether or not counsel purportedly have been given settlement
 22    authority) will cause the settlement conference to be cancelled and rescheduled.
  23   The noncomplying party, attorney, or both, may be assessed the costs and
 24    expenses incurred by other parties as a result of such cancellation and
  25   rescheduling.
 26          5.     Any insurance company that is a party to the case or is
  27   contractually required to defend or to pay damages assessed within policy
  28   limits, should have a settlement representative present at the conference. Such
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   1   representative must have final settlement authority to commit the company to
   2   pay an amount agreed during the settlement conference The purpose of this
   3   requirement is to have an insurance representative present who can settle the
  4    outstanding claim or claims during the course of the conference without
   5   consulting a superior. Counsel of record will be responsible for timely advising
   6   any involved non-party insurance company of the requirements of this Order.
   7         6.     No later than 4:00 p.m. five (5) court days prior thereto, each party
   8   shall submit a Confidential Settlement Conference Statement directly to the
   9   chambers of Magistrate Judge Kato via email to
  10   kk_chambers@cacd.uscourts.gov. The Statements should not be filed with the
  11   Clerk of the Court, and they will not be made part of the case file. The
  12   Statements shall be double-spaced and shall not exceed ten (10) pages in length.
  13   The parties must comply with Local Rule 11-3.1 by using a proportionally
  14   spaced or a monospaced typeface. The size of a proportionally spaced face
  15   must be 14-point or larger and a monospaced face may not contain more than
  16   10-1/2 characters per inch. The parties' respective Confidential Settlement
  17   Conference Statements shall include the following:
  18                A.        A brief statement of the facts of the case, and of the claims
  19   and defenses remaining to be tried, including the statutory or other grounds
 20    upon which the claims are founded. This statement should identify the major
  21   factual and legal issues in dispute and cite any controlling authorities.
 22                 B.        An itemized statement of the damages claimed, and of any
  23   other relief sought.
 24                 C.        A summary of the proceedings to date, including any case
  25   management dates/deadlines already set by the District Judge.
 26                 D.        A history of past settlement discussions, offers and demands,
  27   including the most recent settlement offers exchanged. A forthright evaluation
  28   of the party's likelihood of prevailing on each of its claims and/or defenses.
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   1                 E.     The approximate amount of attorney's fees, time and costs
   2   expended to date, and an estimate of the fees, time and costs to be expended for
   3   (i) further discovery, (ii) pretrial preparations, and (iii) trial.
  4                  F.     The party's evaluation of the terms on which the other side
   5   might settle the case.
   6                 G.     The party's evaluation of the terms on which the case could
   7   be settled fairly, taking into account the litigation position and settlement
   8   position of the other side.
   9          7.     At the conference, counsel for each party should have available for
  10   the Court's perusal copies of all key documents in the case, as well as copies of
  11   all important witnesses' deposition transcripts.
  12          8.     Any failure of the trial attorneys, parties or persons with authority
  13   to attend the conference may result in sanctions to include the fees and costs
  14   expended by the other parties in preparing for and attending the conference.
  15   The failure of any party to timely submit a Confidential Settlement Conference
  16   Statement in compliance with this Order, or otherwise comply strictly with this
  17   Order, may result in the Settlement Conference being ordered off calendar and
  18   sanctions being imposed.
  19          9.     If settlement between any or all parties is reached as a result of the
 20    Settlement Conference, it is the responsibility of counsel to immediately report
  21   the settlement to the District Judge's courtroom deputy clerk, as well as to
 22    timely memorialize the settlement. See Local Rule 16-14.7.
  23          10.    All papers submitted for the Settlement Conference will either be
 24    returned to the parties or destroyed by the Magistrate Judge, after the settlement
  25   proceedings are concluded, unless the parties agree otherwise.
 26           11.    Counsel and any party, if unrepresented by counsel, shall notify the
  27   Court in writing, at least, ten (10) business days before the Settlement
  28   Conference if one or more of the attorneys or unrepresented parties believes the
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   1   Settlement Conference would be a futile act resulting in an economic waste
   2   because; for example, a party or insurer has adopted an unreasonable position
   3   from which that party or insurer refuses to deviate. The Court will then consider
  4    whether the Settlement Conference would be helpful and, if not, whether the
   5   Settlement Conference should be canceled, or other forms of the alternative
   6   dispute resolutions be considered. If there is disagreement between or among
   7   the attorneys or unrepresented parties on this issue or any other issue, they are
   8   instructed to arrange for a telephonic conference with the Court and all counsel
   9   as soon as reasonably practical. If no such conference is arranged, it will be
  10   presumed that all counsel, their clients, and any unrepresented party believe that
  11   there is a reasonable, good faith opportunity for settlement, and that the
  12   involvement of a settlement judge is needed to accomplish it.
  13
  14   DATED: August 15, 2023
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  16                                    HONORABLE KENLY KIYA KATO
                                        UNITED STATES MAGISTRATE JUDGE
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